             Case 3:19-cv-05553-BHS Document 127 Filed 05/31/22 Page 1 of 2




1                                                     THE HONORABLE BENJAMIN H. SETTLE

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6
                                UNITED STATES DISTRICT COURT
7                              WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
8
      KYLIE STEELE,                                      Case No. 3:19-cv-05553-BHS
9
                               Plaintiffs,
10
      v.                                                 NOTICE OF APPEARNCE
11
      NATIONAL RAILROAD PASSENGER
      CORPORATION, a/k/a AMTRAK, a
12
      District of Columbia corporation; and,
      DOES ONE THROUGH FIFTY,
13
                               Defendants.
14

15
     TO:     CLERK OF COURT
16
     TO:     DEFENDANT ABOVE-NAMED AND ITS COUNSEL:
17
             PLEASE TAKE NOTICE that Benjamin T. G. Nivison hereby enters his appearance as
18
     co-counsel for Plaintiff Kylie Steele in the above entitled action.
19
             All pleadings, notices and other papers in this action should be served on the undersigned
20
     counsel.
21

22

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24    Notice of Apperance - Page 1                                         ROSSI VUCINOVICH P.C.
                                                                              1000 Second Avenue, Suite 1420
      Case No.: 3:19-cv-05553-BHS                                                Seattle, Washington 98104

25                                                                          (425) 646-8003/ Fax (425) 646-8004
            Case 3:19-cv-05553-BHS Document 127 Filed 05/31/22 Page 2 of 2




1           Dated: May 31, 2022

2                                        ROSSI VUCINOVICH PC

3                                        By: s/ Benjamin T. G. Nivison______________
                                         Benjamin T. G. Nivison, WSBA No. 39797
4                                        1000 Second Ave, Suite 1420
                                         Seattle, WA 98115
5                                        bnivison@rvflegal.com
                                         ATTORNEYS FOR PLAINTIFF
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24   Notice of Apperance - Page 2                             ROSSI VUCINOVICH P.C.
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25                                                             (425) 646-8003/ Fax (425) 646-8004
